                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18    PageID.2505   Page 1 of 31



                                                UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF MICHIGAN
                                                     SOUTHERN DIVISION

                            CHAD HAYSE
                                                                      Case No. 4:17-cv-13294-LVP-EAS
                                        Plaintiff,                    Hon. Linda V. Parker
                                                                      Mag. Elizabeth A. Stafford
                            v.

                            CITY OF MELVINDALE, a political
                            Subdivision of the State;                 DEFENDANTS’ EMERGENCY
                            MELVINDALE CITY COUNCIL, a                MOTION TO ENFORCE
                            legislative body of the City of           PROTECTIVE ORDER,
                            Melvindale, NICOLE BARNES,                SANCTIONS AGAINST
                            WHEELER MARSEE, MICHELLE                  PLAINTIFF FOR VIOLATION OF
                            SAID LAND, DAVE CYBULSKI,                 PROTECTIVE ORDER AND
                            CARL LOUVET, and STEVEN                   FAILURE TO COMPLY WITH
                                                                      COURT RULES, AND CEASE
Foley & Mansfield, PLLP




                            DENSMORE, individuals, sued in
 130 East Nine Mile Road
   Ferndale, MI 48220




                            their official and personal capacities    AND DESIST FROM
                                                                      CONTINUED VIOLATION
                                        Defendants.

                            DEBORAH GORDON LAW                       FOLEY & MANSFIELD, PLLP
                            Deborah L. Gordon (P27058)               Gregory M. Meihn (P38939)
                            Benjamin I. Shipper (P77558)             Melinda Balian (P55744)
                            Irina L. Vaynerman (P396759)             John S. Gilliam (P81421)
                            Elizabeth Marzotto Taylor (P82061)       Attorneys for Defendants
                            Attorneys for Plaintiff                  130 E. Nine Mile Road
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                            Bloomfield Hills, MI 48304               (248) 721-8161; Fax: (248) 721-4201
                            (248) 258-2500                           gmeihn@foleymansfield.com
                            dgordon@deborahgordonlaw.com             mbalian@foleymansfield.com
                            bshipper@deborahgordonlaw.com
                            ivaynerman@deborahgordonlaw.com          Lawrence J. Coogan (P42433)
                            emarzottotaylor@deborahgordonlaw.com     Co-Counsel for Defendants
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                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18      PageID.2506    Page 2 of 31



                             DEFENDANTS’ EMERGENCY MOTION TO ENFORCE PROTECTIVE
                              ORDER, SANCTIONS AGAINST PLAINTIFF FOR VIOLATION OF
                              PROTECTIVE ORDER AND FAILURE TO COMPLY WITH COURT
                             RULES, AND CEASE AND DESIST FROM CONTINUED VIOLATION

                                  DEFENDANTS, by their attorneys, Foley & Mansfield, PLLP, file this

                            Emergency Motion to Enforce Protective Order, Sanctions Against Plaintiff for

                            Violation of Protective Order and Failure to Comply with Court Rules, and Cease

                            and Desist from Continue Violation, pursuant to Fed. R. Civ. P. 37, and state as

                            follows:

                                  Pursuant to E.D. Mich. LR 7.1(a), the undersigned counsel certifies that

                            counsel communicated with Plaintiff’s counsel in writing on June 13, 2018 and via
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   Ferndale, MI 48220




                            telephone on June 21, 2018, explaining the nature of the relief to be sought by way

                            of this motion and seeking concurrence in the relief requested. Plaintiff’s counsel

                            refused to agree to the relief requested herein.     In fact, Plaintiff’s counsel

                            admitted that the documents regarding John Allen’s deposition as cited by the

                            Detroit Free Press reporter were not on PACER at the time the article was

                            published.

                                  1.     On January 30, 2018, this Court entered a Stipulated Confidentiality

                            Protective Order (Doc # 31).

                                  2.     Pursuant to the Stipulated Confidentiality Protective Order, all

                            confidential Discovery Material produced, or depositions taken in discovery in the




                                                                    2
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18        PageID.2507    Page 3 of 31



                            Litigation, shall be used solely for purposes of the Litigation and for no other

                            purpose (Doc # 31, p 2).

                                  3.     Additionally, deposition testimony and the transcripts and exhibits

                            thereof shall be deemed confidential pursuant to the terms of the stipulated

                            protective order without having to orally indicate such on the record (Doc # 31, p

                            3).

                                  4.     On May 8, 2018, Plaintiff’s counsel filed Michael Welch v. City of

                            Melvindale, et al., case number 2:18-cv-11450-LJM-MKM, in the United States

                            District Court for the Eastern District of Michigan, Southern Division (hereinafter
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 130 East Nine Mile Road
   Ferndale, MI 48220




                            “Welch Litigation”). Exhibit 1.

                                  5.     On June 1, 2018, Plaintiff’s counsel, on behalf of Michael Welch,

                            filed a Motion for Preliminary Injunction in the Welch Litigation. Exhibit 2.

                                  6.     The motion contains thirty-one exhibits, of which ten are deposition

                            transcripts from this litigation, in clear violation of the Stipulated Confidentiality

                            Protective Order. See Exhibit 2, Index of Exhibits, Exhibits A, B, C, E, F, J, L,

                            M, R and Z.

                                  7.     Plaintiff’s counsel attached confidential personnel and investigation

                            documents relating to Officer Furman regarding a suspension from March of 2016

                            for not arresting a women for refusing to exit her vehicle. See Exhibit 2, listed

                            Exhibit N. The personnel and investigation documents are discovery documents



                                                                      3
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18          PageID.2508    Page 4 of 31



                            produced in this Litigation, as no discovery had taken place in the Welch Litigation

                            by June 1, 2018. As such, Plaintiff’s counsel has provided confidential discovery

                            materials to non-party, Michael Welch, in violation of the Protective Order.

                                  8.        Plaintiff’s counsel never sought concurrence in using the transcripts or

                            other confidential documents as exhibits in the Welch Litigation, nor has Plaintiff’s

                            counsel sought that the documents not be marked “confidential” pursuant to

                            Paragraph 7 of the Protective Order.

                                  9.        Plaintiff’s counsel has no justifiable excuse for this blatant violation

                            of the Stipulated Confidentiality Protective Order.
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   Ferndale, MI 48220




                                  10.       On June 20, 2018, Police Chief John Allen received a phone call from

                            Detroit Free Press reporter Tresa Baldas, who had questions about Matthew

                            Furman for an upcoming news article. Ms. Baldas told Chief Allen that attorney

                            Deborah Gordon had provided her with deposition transcripts of Chief Allen and

                            Matthew Furman. Ms. Baldas read excepts of Chief Allen’s deposition testimony

                            to him over the phone.

                                  11.       On June 20, 2018, Defense counsel, Melinda Balian, contacted Tresa

                            Baldas to discuss how Ms. Baldas had obtained deposition transcripts despite this

                            Court’s entry of a Protective Order explicitly protecting deposition transcripts as

                            confidential.     Despite earlier telling Chief Allen that she had obtained the




                                                                        4
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18        PageID.2509    Page 5 of 31



                            deposition transcripts from attorney Deborah Gordon, Ms. Baldas represented that

                            she downloaded the transcripts from PACER.

                                  12.    On June 21, 2018, the Detroit Free Press published an article written

                            by Tresa Baldas that contained multiple references to confidential discovery

                            materials, including quoted deposition testimony of Matthew Furman and John

                            Allen, as well as disciplinary information of Matthew Furman that was produced as

                            CONFIDENTIAL or discussed during his deposition.

                                  13.    During Plaintiff’s continued deposition on June 21, 2018, defense

                            counsel asked Plaintiff whether he has provided confidential discovery materials to
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   Ferndale, MI 48220




                            any individual outside of this litigation. Plaintiff’s counsel refused to allow her

                            client to answer the question, despite asserting no claim of privilege.

                                  14.    Plaintiff and Plaintiff’s counsel have repeatedly violated the

                            Protective Order entered in this case, and sanctions and other relief are warranted.

                                  15.    Further, Plaintiff’s counsel is improperly utilizing discovery methods

                            in this litigation in order to obtain early discovery on issues not relevant to this

                            litigation but rather relevant to the Welch Litigation.

                                  16.    Plaintiff’s counsel has made improper contact with supervisory

                            employees of Defendants in violation of Michigan Rules of Professional Conduct

                            Rule 4.2




                                                                       5
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18      PageID.2510       Page 6 of 31



                                  17.   Plaintiff’s counsel has violated Fed. R. Civ. P. 45(a)(4) by failing to

                            provide defense counsel with notice of subpoena as required by the rule.

                                  18.   Finally, Plaintiff’s counsel has failed to comply with Michigan Rules

                            of Professional Conduct Rule 6.5 by failing to treat defense counsel with courtesy

                            and respect by failing to provide notice of cancellation of a deposition scheduled

                            for the Tuesday following Memorial Day Weekend.

                                  WHEREFORE, Defendants respectfully request this Honorable Court grant

                            their Emergency Motion to Enforce Protective Order, Sanctions Against Plaintiff

                            for Violation of Protective Order and Failure to Comply with Court Rules, and
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   Ferndale, MI 48220




                            Cease and Desist from Continued Violation.



                                                                  By:     /s/ Melinda A. Balian____________
                                                                         FOLEY & MANSFIELD, PLLP
                                                                         Gregory M. Meihn (P38939)
                                                                         Melinda Balian (P55744)
                                                                         John S. Gilliam (P81421)
                                                                         130 East Nine Mile Road
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                                                                         mbalian@foleymansfield.com
                                                                         P55744
                            Dated: June 21, 2018




                                                                    6
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18   PageID.2511   Page 7 of 31



                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF MICHIGAN
                                                 SOUTHERN DIVISION
                                                            Case No. 17-cv-13294-LVP-EAS
                            CHAD HAYSE                      Hon. Linda V. Parker
                                                            Mag. Elizabeth A. Stafford
                                    Plaintiff,

                            v.
                                                                      BRIEF IN SUPPORT OF
                            CITY OF MELVINDALE, a political           DEFENDANTS’ EMERGENCY
                            Subdivision of the State;                 MOTION TO ENFORCE
                            MELVINDALE CITY COUNCIL, a                PROTECTIVE ORDER,
                            legislative body of the City of           SANCTIONS AGAINST
                            Melvindale, NICOLE BARNES,                PLAINTIFF FOR VIOLATION OF
                            WHEELER MARSEE, MICHELLE                  PROTECTIVE ORDER AND
                            SAID LAND, DAVE CYBULSKI,                 FAILURE TO COMPLY WITH
                            CARL LOUVET, and STEVEN                   COURT RULES, AND CEASE
                                                                      AND DESIST FROM
Foley & Mansfield, PLLP




                            DENSMORE, individuals, sued in
 130 East Nine Mile Road
   Ferndale, MI 48220




                            their official and personal capacities    CONTINUED VIOLATION

                                        Defendants.

                            DEBORAH GORDON LAW                       FOLEY & MANSFIELD, PLLP
                            Deborah L. Gordon (P27058)               Gregory M. Meihn (P38939)
                            Benjamin I. Shipper (P77558)             Melinda Balian (P55744)
                            Irina L. Vaynerman (0396759)             John S. Gilliam (P81421)
                            Elizabeth Marzotto Taylor (P82061)       Attorneys for Defendants
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                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18                                       PageID.2512            Page 8 of 31



                                                                        TABLE OF CONTENTS

                            Index of Authorities ................................................................................................. ii

                            Statement of Issues Presented ................................................................................. iii

                            Controlling Authority.............................................................................................. iv

                            Introduction .............................................................................................................. 1

                            Standard.................................................................................................................... 2

                            Facts ......................................................................................................................... 4

                                      A.        Violation of Stipulated Confidentiality Protective Order ................... 4

                                      B.        Violation of Rules of Discovery and Rules of Ethics ......................... 7
Foley & Mansfield, PLLP
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   Ferndale, MI 48220




                            Argument.................................................................................................................. 8

                                      A.        Violation of Stipulated Confidentiality Protective Order ................... 8

                                      B.        Improper Use of Discovery Rules by Plaintiff by Attempting to Use
                                                This Litigation to Obtain Early Discovery in Welch Litigation ...... 14

                                      C.        Plaintiff’s Failure to Provide Prior Notice of May 16 Martha
                                                McDaniel Subpoena .......................................................................... 16

                                      D.        Plaintiff’s Counsel’s Multiple Violations of the Michigan Rules of
                                                Professional Conduct......................................................................... 17

                            Conclusion ............................................................................................................. 19




                                                                                            i
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18                                PageID.2513           Page 9 of 31



                                                                  INDEX OF AUTHORITIES
                            CASES
                            Bass v. Jostens, Inc. 71 F.3d 237, 241 (6th Cir.1995). ..............................................3

                            Coleman v. American Red Cross, 979 F.2d 1135, 1140 (6th Cir.1992) ....................4

                            Harmon v. CSX Transportation, 110 F.3d 364, 366–67 (6th Cir.1997)....................3

                            Societe Internationale Pour Participatons Industrielles et. Commerciales, S.A. v.
                               Rogers, 357 U.S. 197, 78 S.Ct. 1087, 2 L.Ed.2d 1255 (1958) .............................2

                            The Proctor & Gamble Co. v. Haugen, 427 F.3d 727 (10th Cir.2005) .....................3

                            RULES
                            Fed. R. Civ. P. 26(a)(1) ..............................................................................................4

                            Fed. R. Civ. P. 26(g) ..................................................................................................4
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                            Fed. R. Civ. P. 37(b)(2)(A)(ii) ...............................................................................3, 4
   Ferndale, MI 48220




                            Fed. R. Civ. P. 45(a)(4) ..............................................................................................3

                            Michigan Rules of Professional Conduct 4.2 ............................................................5

                            Michigan Rules of Professional Conduct 6.5 ............................................................5




                                                                                       ii
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18     PageID.2514   Page 10 of 31



                                               STATEMENT OF ISSUES PRESENTED

                                  1.    Should the Court sanction Plaintiff and Plaintiff’s counsel for

                            violations of the Stipulated Confidentiality Protective Order and Federal Rules of

                            Civil Procedure?

                                  a.    Defendants answer “yes”.

                                  b.    Plaintiff answers, “no”.
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   Ferndale, MI 48220




                                                                   iii
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18    PageID.2515   Page 11 of 31



                                                       CONTROLLING AUTHORITY

                            CASES
                            Bass v. Jostens, Inc. 71 F.3d 237 (6th Cir.1995).

                            Coleman v. American Red Cross, 979 F.2d 1135 (6th Cir.1992)

                            Harmon v. CSX Transportation, 110 F.3d 364 (6th Cir.1997)

                            Societe Internationale Pour Participatons Industrielles et. Commerciales, S.A. v.
                               Rogers, 357 U.S. 197, 78 S.Ct. 1087, 2 L.Ed.2d 1255 (1958)

                            RULES
                            Fed. R. Civ. P. 26(a)(1)

                             Fed. R. Civ. P. 26(g)

                            Fed. R. Civ. P. 37(b)(2)(A)(ii)
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   Ferndale, MI 48220




                             Fed. R. Civ. P. 45(a)(4)

                            Michigan Rules of Professional Conduct 4.2

                            Michigan Rules of Professional Conduct 6.5




                                                                     iv
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18        PageID.2516    Page 12 of 31



                                                             INTRODUCTION

                                  Defendants seek the Court’s intervention for assistance with compliance

                            with the Court’s Orders and Plaintiff’s compliance with the Federal Rules of Civil

                            Procedure. Although counsel for defense has attempted to communicate with

                            counsel on our mutual ethical obligations and desire to do so in a professional

                            manner, there is continued resistance which has now resulted in clear and

                            intentional violations of a stipulated Protective Order.

                                  In short, Plaintiff and Plaintiff’s counsel have intentionally violated the

                            Stipulated Confidentiality Protective Order by disclosing confidential discovery
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   Ferndale, MI 48220




                            materials from this litigation for use by Plaintiff’s counsel in a separate lawsuit she

                            filed on behalf of Melvindale Police Officer, Michael Welch.              Even more

                            outrageous is the fact that Plaintiff’s counsel recently shared confidential discovery

                            materials from this litigation with a reporter from the Detroit Free Press, who

                            included excerpts of deposition transcripts in an article that was published in the

                            Detroit Free Press on June 21, 2018. Plaintiff’s counsel cannot honestly dispute

                            that she violated the Protective Order in this matter on multiple occasions. This

                            egregious conduct is extremely prejudicial to Defendants and disrespectful to the

                            Court, Defendants, and defense counsel. Due to Plaintiff and Plaintiff’s counsel’s

                            blatant and continued violations of the Protective Order, sanctions are appropriate

                            and necessary to preclude further misconduct by Plaintiff and Plaintiff’s counsel.



                                                                      1
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2517     Page 13 of 31



                                                               STANDARD

                                  Federal Rules of Civil Procedure provide for sanctions for violation of

                            discovery rules. Rule 16 provides that a court may issue any just orders including

                            those authorized in Fed. R. Civ. P. Rule 37 if a party or his attorney fails to obey

                            orders of the court. Federal courts also have inherent power to protect their

                            jurisdiction and enforce their orders and judgments. See, Societe Internationale

                            Pour Participatons Industrielles et. Commerciales, S.A. v. Rogers, 357 U.S. 197,

                            78 S.Ct. 1087, 2 L.Ed.2d 1255 (1958), Advisory Notes FRCP Rule 16 (2010). The

                            contempt jurisdiction of the magistrate judge in a case such as this, where the
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                            parties have not consented to the jurisdiction of the Magistrate Judge and the

                            contempt has not occurred in the presence of the court, is limited to a

                            recommendation to hold the offender in contempt. 28 U.S.C. § 636(4), (6).

                            However, other sanctions may be imposed by this court. Id.

                                  Under Fed. R. Civ. P Rule 37, the court is afforded discretion with respect to

                            selection of an appropriate sanction. Bass v. Jostens, Inc. 71 F.3d 237, 241 (6th

                            Cir.1995). Dismissal with prejudice represents an extreme sanction and is

                            appropriate in cases of willfulness, bad faith, or some fault on the part of the party

                            sanctioned. The Proctor & Gamble Co. v. Haugen, 427 F.3d 727 (10th Cir.2005).

                            As this circuit has noted, in evaluating appropriate sanctions, a court should

                            consider four factors: (1) whether the failure is due to willfulness, bad faith, or



                                                                      2
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2518    Page 14 of 31



                            fault; (2) whether the adversary was prejudiced; (3) whether the party was warned;

                            and (4) whether less drastic sanctions were imposed or considered. See, Harmon v.

                            CSX Transportation, 110 F.3d 364, 366–67 (6th Cir.1997) (internal quotations

                            omitted).

                                  Fed. R. Civ. P. 37(b) provides for sanctions for failure to comply with a

                            court order. A party may be sanctioned under Fed. R. Civ. P. 37(b)(2)(A) for

                            violation of a protective order. Coleman v. American Red Cross, 979 F.2d 1135,

                            1140 (6th Cir.1992).

                                  Fed. R. Civ. P. 26(b)(1) permits parties to obtain discovery regarding any
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                            nonprivileged matter that is relevant to any party’s claim or defense and

                            proportional to the needs of the case.

                                  Fed. R. Civ. P. 26(d)(1) prohibits a party from seeking discovery from any

                            source before the parties have conferred as required by Rule 26(f), with few

                            exceptions. Under Rule 26(d)(2), a party may serve early Rule 34 requests more

                            than 21 days after the summons and complaint are served on a party.

                                  Fed. R. Civ. P. 34 permits a party to serve a request, within the scope of

                            Rule 26(b), to produce items in the party’s possession, custody, or control.

                                  Fed. R. Civ. P. 45(a)(4) requires notice to other parties before service of a

                            subpoena. If the subpoena commands the production of documents, electronically

                            stored information, or tangible things or the inspection of premises before trial,



                                                                     3
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18         PageID.2519    Page 15 of 31



                            then before it is served on the person to whom it is directed, a notice and a copy of

                            the subpoena must be served on each party.

                                  Under Michigan Rules of Professional Conduct Rule 4.2, a lawyer shall not

                            communicate about the subject of the representation with a person whom the

                            lawyer knows to be represented in the matter by another lawyer. In the case of an

                            organization, this rule prohibits communications by a lawyer for one party

                            concerning the matter in representation with persons having a managerial

                            responsibility on behalf of the organization.

                                  Per Michigan Rules of Professional Conduct Rule 6.5(a), a lawyer shall treat
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   Ferndale, MI 48220




                            with courtesy and respect all persons involved in the legal process.

                                                                   FACTS

                               A. Violation of Stipulated Confidentiality Protective Order

                                  On January 25, 2018, the parties had a status conference with Judge Parker

                            during which counsel for Defendants expressed the need for a protective order,

                            specifically citing that Plaintiff and Plaintiff’s counsel had already alerted the press

                            and she wanted to avoid confidential material from being shared outside this

                            litigation. Thereafter, the Court the parties to submit a proposed protective order

                            as shown by the Minute Entry on January 25, 2018.

                                  On January 30, 2018, this Court entered a Stipulated Confidentiality

                            Protective Order (Doc # 31)(hereinafter “Protective Order”).           Pursuant to the



                                                                       4
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2520    Page 16 of 31



                            Protective Order, “all confidential Discovery Material produced [meaning that

                            marked “confidential” by a party], or depositions taken in discovery in this

                            Litigation, shall be used solely for purposes of the Litigation and for no other

                            purpose” (Doc # 31, p. 2). Additionally, deposition testimony and the transcripts

                            and exhibits thereof shall be deemed confidential pursuant to the terms of the

                            stipulated protective order without having to orally indicate such on the record

                            (Doc # 31, p. 3).

                                  On May 8, 2018, Plaintiff’s counsel filed Michael Welch v. City of

                            Melvindale, et al., case number 2:18-cv-11450-LJM-MKM, in the United States
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 130 East Nine Mile Road
   Ferndale, MI 48220




                            District Court for the Eastern District of Michigan, Southern Division (hereinafter

                            “Welch Litigation”). Exhibit 1. Mr. Welch alleges that he was retaliated against

                            for testifying at a deposition on March 28, 2018 in this litigation. On June 1, 2018,

                            Plaintiff’s counsel, on behalf of Michael Welch, filed a Motion for Preliminary

                            Injunction in that case. Exhibit 2. The motion contains thirty-one (31) exhibits, of

                            which ten (10) are deposition transcripts from this Litigation, in clear violation of

                            the Protective Order. See Exhibit 2, Index of Exhibits, Exhibits A, B, C, E, F, J,

                            L, M, R and Z.

                                  Further, Plaintiff attached confidential personnel/investigation documents,

                            marked “confidential”, relating to Officer Furman regarding a suspension from

                            March of 2016 for not arresting a woman for refusing to exit her vehicle. See



                                                                     5
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18      PageID.2521     Page 17 of 31



                            Exhibit 2, listed Exhibit N1. The personnel and investigation documents attached

                            by Plaintiff’s counsel are discovery documents produced in this Litigation, as no

                            discovery had taken place in the Welch Litigation by June 1, 2018.         As such,

                            Plaintiff’s counsel has provided confidential discovery materials to non-party,

                            Michael Welch, in violation of the Protective Order. Plaintiff’s counsel never

                            sought concurrence in using the transcripts or confidential documents as exhibits in

                            the Welch Litigation, nor has Plaintiff’s counsel sought the documents not be

                            marked “confidential” pursuant to Paragraph 7 of the Protective Order.

                                  On June 20, 2018, Police Chief John Allen received a phone call from
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   Ferndale, MI 48220




                            Detroit Free Press reporter Tresa Baldas. Ms. Baldas stated that attorney Deborah

                            Gordon provided her with transcripts from the depositions of Matthew Furman and

                            John Allen in this litigation. Ms. Baldas wanted to ask Chief Allen questions

                            regarding Matthew Furman for an upcoming news article. During the phone call,

                            Ms. Baldas read excerpts over the phone to Chief Allen from his deposition

                            transcript. Exhibit 3.

                                  On June 20, 2018, in response to Ms. Baldas’ call to Chief Allen, Defense

                            counsel, Melinda Balian, contacted Ms. Baldas to determine how Ms. Baldas had


                                  1
                                   Defendants have not attached the referenced exhibits used by Plaintiff’s
                            counsel in the Welch Litigation Motion for Preliminary Injunction; however,
                            Defendants will make them available to the Court for viewing at the hearing so that
                            the Court is aware of the “confidential” stamp referenced herein.


                                                                     6
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2522    Page 18 of 31



                            obtained deposition transcripts despite this Court’s entry of a Protective Order

                            explicitly protecting deposition transcripts as confidential. Despite earlier telling

                            Chief Allen that she had obtained the deposition transcripts from attorney Deborah

                            Gordon, Ms. Baldas represented that she downloaded the transcripts from PACER.

                            Exhibit 4.

                                  On June 21, 2018, the Detroit Free Press published an article by Tresa

                            Baldas that contains numerous quotes from testimony of Matthew Furman and

                            John Allen. Exhibit 5. Additionally, the article contains reference to confidential

                            discovery materials, namely the confidential disciplinary records of Matthew
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   Ferndale, MI 48220




                            Furman for an incident involving Cecilia Wielichowski, Bates documents 001445-

                            001446 which were produced on January 30, 2018 and are clearly marked

                            CONFIDENTIAL on the bottom of each page.

                               B. Violation of Rules of Discovery and Rules of Ethics

                                  On May 16, 2018, Plaintiff served Martha McDaniel personally with a

                            subpoena for documents pertaining to Michael Welch’s claims, including

                            recordings, minutes and agendas from meetings of the Melvindale Public Safety

                            Commission between March 28, 2018 and the present. Exhibit 6. Plaintiff did not

                            provide notice to Defendants of his intent to serve this subpoena, and Defense

                            counsel did not receive a copy of the subpoena until May 18, 2018, as noted by the

                            receipt stamp on the document.



                                                                     7
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2523    Page 19 of 31



                                  The deposition of Officer Allen Lash was scheduled to occur on Tuesday,

                            May 29, 2018, the day after Memorial Day weekend. On Friday, May 25, 2018,

                            when defense counsel contacted Officer Lash to discuss his upcoming deposition,

                            Officer Lash confirmed Plaintiff’s counsel contacted him a couple of days earlier

                            and advised that his deposition was cancelled. When defense counsel contacted

                            Plaintiff’s counsel to request confirmation of the deposition of Officer Lash,

                            Plaintiff’s counsel, Ms. Taylor, responded, “Lash’s dep has been cancelled, and he

                            has been notified.” Exhibit 7. Defense counsel responded by requesting the date

                            Officer Lash was notified of the cancellation and asking why defense counsel was
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                            not notified. Exhibit 8. Plaintiff’s counsel never responded to the email.

                                                              ARGUMENT

                               A. Violation of Stipulated Confidentiality Protective Order

                                  On January 30, 2018, this Court entered a Stipulated Confidentiality

                            Protective Order (Doc # 31)(hereinafter “Protective Order”).        Pursuant to the

                            Protective Order, “all confidential Discovery Material produced [meaning that

                            marked “confidential” by a party], or depositions taken in discovery in this

                            Litigation, shall be used solely for purposes of the Litigation and for no other

                            purpose” (Doc # 31, p. 2). Additionally, deposition testimony and the transcripts

                            and exhibits thereof shall be deemed confidential pursuant to the terms of the




                                                                     8
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2524    Page 20 of 31



                            stipulated protective order without having to orally indicate such on the record

                            (Doc # 31, p. 3).

                                  On May 8, 2018, Plaintiff’s counsel filed Michael Welch v. City of

                            Melvindale, et al., case number 2:18-cv-11450-LJM-MKM, in the United States

                            District Court for the Eastern District of Michigan, Southern Division (hereinafter

                            “Welch Litigation”). Exhibit 1. Mr. Welch alleges that he was retaliated against

                            for testifying at a deposition on March 28, 2018 in this litigation. On June 1, 2018,

                            Plaintiff’s counsel, on behalf of Michael Welch, filed a Motion for Preliminary

                            Injunction in that case. Exhibit 2. The motion contains thirty-one (31) exhibits, of
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                            which ten (10) are deposition transcripts from this Litigation, in clear violation of

                            the Protective Order. See Exhibit 2, Index of Exhibits, Exhibits A, B, C, E, F, J,

                            L, M, R and Z. Plaintiff’s counsel has no justifiable excuse for this blatant

                            violation of the Protective Order.

                                  Further, Plaintiff attached confidential personnel/investigation documents

                            relating to Officer Furman, marked “confidential”, regarding a suspension from

                            March of 2016 for not arresting a woman for refusing to exit her vehicle. See

                            Exhibit 2, listed Exhibit N2. Again, Plaintiff’s counsel has no justifiable excuse


                                  2
                                   Defendants have not attached the referenced exhibits used by Plaintiff’s
                            counsel in the Welch Litigation Motion for Preliminary Injunction; however,
                            Defendants will make them available to the Court for viewing at the hearing so that
                            the Court is aware of the “confidential” stamp referenced herein.


                                                                     9
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2525     Page 21 of 31



                            for this blatant violation of the Protective Order (Doc # 31). Plaintiff’s counsel

                            never sought concurrence in using the transcripts or confidential documents as

                            exhibits in the Welch Litigation, nor has Plaintiff’s counsel sought that the

                            documents not be marked “confidential” pursuant to Paragraph 7 of the Protective

                            Order.

                                  The basis for this motion is simple. Confidential discovery materials from

                            this litigation were improperly disclosed to a third party and utilized in outside

                            litigation, in violation of the Stipulated Confidentiality Protective Order entered in

                            this case. Plaintiff’s counsel cannot dispute (although they have) that her office
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                            used confidential discovery materials from this litigation in the litigation filed by

                            her office on behalf of Michael Welch. There is no dispute that the materials

                            referenced in and attached as exhibits to Michael Welch’s Motion for Preliminary

                            Injunction are confidential discovery materials, namely, deposition transcripts and

                            personnel documents and investigative reports involving Officer Furman. Finally,

                            Plaintiff and Plaintiff’s counsel knew these deposition transcripts were confidential

                            discovery materials as the Stipulated Confidentiality Protective Order is just that, a

                            stipulated order.

                                  On June 20, 2018, more evidence came to light of Plaintiff and Plaintiff’s

                            counsel’s violation of the Protective Order. Police Chief John Allen received a

                            phone call from Detroit Free Press reporter Tresa Baldas, who wanted to ask



                                                                     10
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2526    Page 22 of 31



                            questions about Matthew Furman for an upcoming news article. See Exhibit 3.

                            Ms. Baldas informed Chief Allen that attorney Deborah Gordon provided her with

                            transcripts of the depositions of Chief Allen and Matthew Furman. Ms. Baldas

                            read excerpts of Chief Allen’s deposition transcript to Chief Allen over the phone.

                            Chief Allen had only given his deposition one week prior on June 13, 2018.

                                  On June 20, 2018, in response to Ms. Baldas’ call to Chief Allen, Defense

                            counsel, Melinda Balian, contacted Ms. Baldas to determine how Ms. Baldas had

                            obtained deposition transcripts despite this Court’s entry of a Protective Order

                            explicitly protecting deposition transcripts as confidential. Despite earlier telling
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                            Chief Allen that she had obtained the deposition transcripts from attorney Deborah

                            Gordon, Ms. Baldas represented that she downloaded the transcripts from PACER.

                            See Exhibit 4. While it might be possible that Ms. Baldas obtained the deposition

                            transcript of Matthew Furman on PACER due to Plaintiff’s counsel’s improperly

                            attaching of same to the Motion for Preliminary Injunction she filed on behalf of

                            Michael Welch in his lawsuit, it is impossible for Ms. Baldas to have obtained the

                            deposition transcript of John Allen from PACER because it has not been filed in

                            this litigation or in the Welch litigation. Indeed, Chief Allen gave his deposition

                            only one week prior to Ms. Baldas’ phone call to him for comment.

                                  On June 21, 2018, the Detroit Free Press published an article written by

                            Tresa Baldas that contained multiple references to confidential discovery materials,



                                                                     11
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18         PageID.2527    Page 23 of 31



                            including quoted deposition testimony of Matthew Furman and John Allen, as well

                            as disciplinary information of Matthew Furman that was produced as

                            CONFIDENTIAL or discussed during his deposition. Exhibit 5. There is only one

                            possible source for this information: Plaintiff and his counsel. It is clear from the

                            article that Plaintiff and/or his counsel intentionally violated the protective order by

                            disclosing some or all of the referenced confidential materials to the reporter.

                                  As noted, Plaintiff and his counsel cannot honestly represent to the Court

                            that they did not disclose the deposition transcript of John Allen to the reporter.

                            His deposition occurred one week prior, and his transcript is not uploaded to
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                            PACER in either this litigation or the Welch litigation. Based on the text of Ms.

                            Baldas’ article, it appears she exposed the remainder of her lie to defense counsel

                            that she had obtained the deposition transcripts from PACER. On page one of the

                            article, Ms. Baldas references Mr. Furman’s “118-page deposition obtained by the

                            Free Press.” Exhibit 5. However, the transcript plaintiff’s counsel improperly

                            attached as an exhibit in the Welch litigation is only 87 pages. See Exhibit 9, listed

                            Exhibit J. The condensed transcript of Mr. Furman’s deposition is 118 pages, but

                            plaintiff’s counsel had removed the index prior to improperly using this

                            confidential discovery in the unrelated Welch litigation. Therefore, it is impossible

                            that the Detroit Free Press reporter obtained both transcripts from PACER. This

                            leaves only Plaintiff or his counsel as the violating party. Again, Ms. Baldas



                                                                      12
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2528     Page 24 of 31



                            admitted to Chief John Allen that attorney Deborah Gordon provided the

                            transcripts to her.

                                   Notably, during Plaintiff’s continued deposition on June 21, 2018, defense

                            counsel asked Plaintiff whether he has provided discovery materials to any

                            individual outside of this litigation. Plaintiff’s counsel refused to allow her client

                            to answer the question, despite asserting no claim of privilege.

                                   When defense counsel sought concurrence in this Motion based on the

                            additional violations per the Detroit Free Press article, Plaintiff’s counsel admitted

                            that the documents referenced regarding John Allen’s deposition were not on
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                            PACER as of yet. This further underscores the inaccurate misrepresentations by

                            the Detroit Free Press reporter regarding the source of these documents, and sheds

                            light on the involvement of Plaintiff and his counsel to aid in the publishing of

                            confidential discovery materials in violation of the Protective Order.

                                   The engaging of the media by Plaintiff’s counsel to litigate her agenda of

                            this matter in the public is not only in violation of the Protective Order agreed to

                            by Plaintiff and entered by this Court, but it also has implications with respect to

                            jury nullification and venue issues. Regardless of their motive for releasing these

                            confidential discovery materials to the media, Plaintiff and Plaintiff’s counsel have

                            prejudiced Defendants by tainting the jury pool.




                                                                     13
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18      PageID.2529    Page 25 of 31



                                  There is no dispute that Plaintiff and/or Plaintiff’s counsel have repeatedly

                            violated the Stipulated Confidentiality Protective Order in this case. Based on the

                            nature of the violations, there is also no dispute that these violations were

                            intentional.    This Court should enter severe sanctions against Plaintiff and

                            Plaintiff’s counsel for these intentional, egregious violations of the Court’s

                            Protective Order.

                               B. Improper Use of Discovery Rules by Plaintiff by Attempting to Use This
                                  Litigation to Obtain Early Discovery in Welch Litigation

                                  In addition to complete disregard of the Stipulated Confidentiality Protective

                            Order, Plaintiff and Plaintiff’s counsel have violated discovery rules 26(b)(1),
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                            26(d)(1)-(2), and 34(a) by improperly utilizing discovery methods in this litigation

                            to obtain early discovery on issues not relevant to the claims or defenses in this

                            litigation, but rather pertaining to Michael Welch’s allegations in the Welch

                            Litigation. To this end, Plaintiff served his Third Requests for Production of

                            Documents on April 25, 2018. Exhibit 10. These requests sought the following:

                                  1)       documents and communications between Melvindale City Counsel,
                                           Lawrence Coogan and members of the Melvindale Public Safety
                                           Commission from March 28, 2018 to present;
                                  2)       documents and communications between Mr. Coogan and members of
                                           the Melvindale Police Department from March 28, 2018 to present;
                                           and




                                                                    14
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18        PageID.2530     Page 26 of 31



                                  3)     meeting recordings, meeting minutes, and related materials for
                                         meetings of the Public Safety Commission (both regular and closed
                                         session) from March 28, 2018 to present.
                                  Additionally, on May 16, 2018, Plaintiff’s counsel served a subpoena for

                            documents upon Martha McDaniel, secretary for the Public Safety Commission,

                            seeking meeting recordings, minutes and agendas from all meetings (both regular

                            and closed session) of the Public Safety Commission between March 28, 2018 and

                            the present. Exhibit 6.

                                  Michael Welch’s Complaint is against the City of Melvindale, Mr. Coogan

                            and the Melvindale Public Safety Commissioners individually, including Ms.
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                            McDaniel. Mr. Welch alleges his First Amendment rights were violated due to

                            suffering alleged retaliation after being deposed by Plaintiff’s counsel in this

                            litigation on March 28, 2018.

                                  Welch apologized for providing “misstatements” during Plaintiff’s removal

                            hearing. Exhibit 11.3 The question of Welch’s veracity will be governed by the

                            Federal Rules of Evidence, not having a trial within a trial on his claims of

                            retaliation for violation of his First Amendment rights.

                                  In addition to violating the protective order in this case, Plaintiff’s counsel is

                            improperly circumventing the discovery rules by utilizing her relationship as

                                  3
                                   Plaintiff has been in possession of this document since Welch’s deposition
                            on March 28, 2018.


                                                                      15
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18         PageID.2531   Page 27 of 31



                            counsel in this litigation to obtain early discovery in Mr. Welch’s litigation.

                            Defendants have been prejudiced by way of additional attorney fees incurred in

                            defending and answering discovery requests irrelevant to the issues in this

                            litigation. As defense counsel has repeatedly informed counsel for Plaintiff, the

                            issue of Mr. Welch’s veracity will be determined and governed by the Federal

                            Rules of Evidence, but the forum for Welch’s Litigation is before Judge

                            Michelson, not this Court. Further, the documents sought are 1) not relevant to the

                            claims or defenses in this case and 2) secondly it is not in the best interests of

                            justice to have a “trial within a trial” regarding the Welch Litigation as his
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                            allegations are not related to the claims or defenses of Plaintiff.

                               C. Plaintiff’s Failure to Provide Prior Notice of May 16 Martha McDaniel
                                  Subpoena

                                  In addition to the discovery violations above, Plaintiff’s counsel has violated

                            Fed. R. Civ. P. 45(a)(4) by failing to provide defense counsel with required notice

                            of subpoenas. On May 16, 2018, Plaintiff served Martha McDaniel personally

                            with a subpoena for documents pertaining to Michael Welch’s claims: meeting

                            recordings, minutes and agendas from meetings of the Melvindale Public Safety

                            Commission between March 28, 2018 and the present. See Exhibit 6. Defense

                            counsel did not receive a copy of the subpoena until May 18, 2016, as shown by

                            the “Received” stamp on the cover letter and envelope received with the subpoena.

                            Exhibit 6. Plaintiff admittedly did not provide prior notice of the subpoena to

                                                                      16
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2532     Page 28 of 31



                            defense counsel pursuant to Fed. R. Civ. P. 45(a)(1)(D)(4) as shown by the post

                            marked envelope to defense counsel dated May 16th. Although on May 18, 2018,

                            defense counsel requested that Ms. Gordon please cease and desist from doing this

                            in future practice, Exhibit 12, the response from Plaintiff’s counsel was, in short,

                            no need to because a court won’t grant a motion to quash. Exhibit 13.

                                  There is no dispute that Plaintiff and Plaintiff’s counsel violated Fed. R. Civ.

                            P. 26(a)(4) when they failed to provide advance notice of the subpoena. There is

                            no excuse for this violation.    Coupled with the conduct outlined above, this

                            violation warrants sanctions, as Defendants incurred legal costs through defense
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                            counsel’s addressing the subpoena and corresponding with plaintiff’s counsel

                            regarding the same.

                               D. Plaintiff’s counsel’s multiple violations of the Michigan Rules of
                                  Professional Conduct

                                  Finally, Plaintiff’s counsel has violated the Michigan Rules of Professional

                            Conduct, without explanation or excuse.

                                  First, Plaintiff’s counsel has improperly contacted supervisory employees of

                            Defendants, in direct violation of MRPC 4.2, which prohibits communications with

                            persons represented by counsel.       Specifically, Plaintiff’s counsel improperly

                            contacted and served subpoenas on various supervisory officers for their

                            depositions, including Sgt. Patrick Easton and Corporal Brandon Nolin. No

                            supervisory employees should be contacted directly contacted by Plaintiff’s

                                                                      17
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18       PageID.2533    Page 29 of 31



                            counsel. Despite Defense counsel’s repeated requests to refrain from contacting

                            supervisory employees directly, Plaintiff’s counsel has not ceased the improper

                            contact.

                                  Additionally, Plaintiff’s counsel’s conduct toward defense counsel has

                            deteriorated to the point where Plaintiff’s counsel is unable and unwilling to extend

                            simple courtesy and respect, as expected among professionals but as required by

                            MRPC 6.5. MRPC 6.5 requires a lawyer to treat all persons involved in the legal

                            process with courtesy and respect. This rule extends to coordinating schedules and

                            notifying of changes of depositions. As noted above, Plaintiff’s counsel cancelled
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                            a deposition scheduled for the Tuesday after a holiday weekend without providing

                            notice to defense counsel. Based on defense counsel’s conversation with the

                            witness on the Friday before the deposition, it is apparent that Plaintiff’s counsel

                            had contacted the witness several days prior to notify him of the cancellation.

                            Defense counsel only learned of the cancellation upon contacting the witness to

                            discuss the upcoming deposition.        Not only did Plaintiff’s counsel fail to

                            communicate the cancellation to defense counsel, the response given to defense

                            counsel’s request to confirm the deposition demonstrates the complete lack of

                            courtesy and respect shown by Plaintiff’s counsel. As noted above, Ms. Taylor

                            responded, “Lash’s dep has been cancelled, and he has been notified.” Exhibit 7

                            (emphasis added). Defense counsel responded requesting the date Officer Lash



                                                                     18
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18        PageID.2534     Page 30 of 31



                            was notified of the cancellation and asking why defense counsel was not notified.

                            Exhibit 8. Plaintiff’s counsel never responded to the email.

                                  Plaintiff’s counsel has no excuse for their disregard of the Michigan Rules of

                            Professional Conduct, which further demonstrate the inappropriate conduct and

                            belief of Plaintiff’s counsel that the rules don’t apply to them. Sanctions are

                            warranted for these blatant and avoidable violations.

                                                              CONCLUSION

                                  Based upon the above, it is respectfully requested that this Court grant

                            Defendants’ Motion for Sanctions.
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                                  Defendants request an Order assessing monetary sanctions against Plaintiff

                            and Plaintiff’s counsel due to unnecessary attorney fees incurred. If this Court

                            grants Defendants’ motion for reasonable attorney fees and costs, Defendants will

                            submit billings to support the request.

                                  Further, Defendants request an Order recommending that Plaintiff and

                            Plaintiff’s counsel be held in contempt for violating the protective order, and

                            compelling Plaintiff and Plaintiff’s counsel to cease and desist from further

                            violations of the protective order to avoid further tainting of the jury and to avoid a

                            request for change of venue.

                                                                      By:   /s/ Melinda A. Balian____________
                                                                            FOLEY & MANSFIELD, PLLP
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                                                                            Ferndale, MI 48220

                                                                       19
                           Case 4:17-cv-13294-LVP-EAS ECF No. 79 filed 06/21/18      PageID.2535    Page 31 of 31



                                                                         (248) 721-4200
                                                                         mbalian@foleymansfield.com
                            Dated: June 21, 2018


                                                     CERTIFICATE OF SERVICE

                            I hereby certify that on June 21, 2018 I electronically filed the foregoing
                            Emergency Motion to Enforce Protective Order, Sanctions Against Plaintiff
                            for Violation of Protective Order and Failure to Comply with Court Rules,
                            and Cease and Desist From Continued Violation with the Clerk of the Court
                            using the ECF system which will send notification of such filing to:

                                                     dgordon@deborahgordonlaw.com
                                                     bshipper@deborahgordonlaw.com
                                                   ivaynerman@deborahgordonlaw.com
                                                   emarzottotaylor@deborahgordonlaw.com
                                                      lawrencejcooganlaw@yahoo.com
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                            and I hereby certify that I have mailed by US Postal Service to the following non-
                            ECF participants: NONE.

                                                                         /s/ Krista Woerfel




                                                                    20
